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 1                                                            The Honorable Benjamin H. Settle
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                             UNITED STATES DISTRICT COURT FOR THE
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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 9
      UNITED STATES OF AMERICA,                           NO. CR21-5186BHS
10
                                 Plaintiff,
11                                                        ORDER CONTINUING TRIAL DATE
12
13                          v.
      ABIDEMI RUFAI,
14
      a/k/a Sandy Tang,
15
                                  Defendant.
16
17          This matter came before the Court on the parties’ Agreed Motion to Continue
18 Trial Date. Having considered the agreed motion and the facts and circumstances
19 described therein which are hereby incorporated as findings of fact, the Court finds that:
20          1.       Defendant is charged with Conspiracy to Commit Wire Fraud in violation
21 of 18 U.S.C. § 1349, nine counts of Wire Fraud in violation of 18 U.S.C. § 1343, and five
22 counts of Aggravated Identity Theft in violation of 18 U.S.C. § 1028A. The charges
23 allege that defendant submitted fraudulent “imposter” claims for unemployment benefits
24 authorized under the CARES Act.
25          2.       Defendant was arraigned on June 25, 2021 and pled not guilty to all counts.
26 The Court scheduled trial for August 31, 2021, and set a pretrial motions deadline of July
27 23, 2021.
28
     United States v. Rufai - Order - 1                                   UNITED STATES ATTORNEY
                                                                              700 STEWART STREET
                                                                                   SUITE 5220
                                                                           SEATTLE, WASHINGTON 98101
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 1           3.       Discovery in this case is voluminous and complex. On July 26, 2021, the
 2 government produced approximately 97,000 pages of material. In addition, the
 3 government is in the process of executing two additional electronic search warrants and
 4 will produce the seized material as soon as possible. The discovery includes electronic
 5 documents in a variety of formats. Much of the material contains personal identifying
 6 information or sensitive financial information and is therefore subject to a protective
 7 order that will restrict defendant’s review of the material to certain authorized places.
 8 Further, much of the material may need to be redacted before it can be provided to the
 9 defendant.
10           4.       Defendant is presently in transit from New York and may not arrive in the
11 District until as late as August 13, 2021. While defendant’s New York-based attorney
12 has met with him in person on multiple occasions, his Seattle-based attorney has not, and
13 will not be able to do so until after he arrives in the District.
14           5.       The defense represents that it requires additional time to review and analyze
15 the government’s discovery production and to conduct their factual and legal
16 investigation before they can prepare pretrial motions or prepare for trial. Defendant and
17 his attorneys have indicated that the failure to grant a continuance of the requested length
18 would unreasonably deny the defense the reasonable time necessary for effective
19 preparation, taking into account the exercise of due diligence.
20 18 U.S.C. 18 § 3161(h)(7)(B)(iv). The Court agrees that counsel cannot reasonably be
21 expected to prepare for trial in the time allowed under the existing schedule, taking into
22 account the exercise of due diligence.
23           6.       The COURT FINDS that the ends of justice will best be served by a
24 continuance and outweigh the best interests of the public and the defendant in a speedy
25 trial, within the meaning of 18 U.S.C. § 3161(h)(7)(A).
26           7.       The COURT FINDS that the failure to grant such a continuance in this case
27 would likely result in a miscarriage of justice because the government and the defendant
28
      United States v. Rufai - Order - 2                                    UNITED STATES ATTORNEY
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 1 would be denied the reasonable time necessary for effective preparation, taking into
 2 account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(i) and (iv);
 3          8.       The COURT FINDS pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii), that the
 4 case is so unusual and complex, due to the nature of the prosecution and the volume of
 5 discovery, that it would be unreasonable to expect adequate preparation for trial within
 6 the time limits established by 18 U.S.C. § 3161 et seq.; and
 7          9.       The COURT FINDS that pursuant to 18 U.S.C. § 3161(h)(7)(A) and
 8 (h)(7)(B)(iv), the period of delay is reasonable.
 9          Based on these findings it is ORDERED that, for the reasons stated herein and the
10 additional reasons provided in the agreed motion, trial of this matter is hereby continued
11 to February 1, 2022. Pretrial motions shall be filed no later than December 9, 2021.
12 Pretrial Conference is scheduled for January 24, 2022 at 10:00 a.m.
13          IT IS FURTHER ORDERED that the period of delay from August 31, 2021,
14 through February 1, 2022, is excludable time pursuant to Title 18, United States Code,
15 Section 3161 et seq., for purposes of computation of the time limitations imposed by the
16 Speedy Trial Act, Title 18, United States Code, Section 3161 through 3164.
17
18          Dated this 3rd day of August, 2021.
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21
22
                                              ABENJAMIN H. SETTLE
                                               United States District Judge
23
24
25
   Presented by:
26 Seth Wilkinson
27 SETH WILKINSON
   Assistant United States Attorney
28
     United States v. Rufai - Order - 3                                       UNITED STATES ATTORNEY
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